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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
                                                                FILED
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usA,                                    )
                                        )                       *[?Hl?#,t5'JHf fl t*u38[*
                  Plaintiff,

             v,                             No. 18 CR 611
Ji Chaoqun

                                             Judge Ronald A. Guzm6n
                  Defendant.


                               JURY !NSTRUCTIONS
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      Members of the jury, I will now instruct you on the law that you must follow in
deciding this case. I will also give you a copy of these instructions to use in the jury
room. You must follow all of my instructions about the law, even if you disagree with
them. This includes the instructions I gave you before the trial, any instructions I gave
you during the trial, and the instructions I am giving you now.

      As jurors, you have two duties. Your first duty is to decide the facts from the
evidence that you saw and heard here in court. This is your job, not my job or anyone else's
job.

      Your second duty is to take the law as I give it to you, apply it to the facts, and
decide if the government has proved the defendant guilty beyond a reasonable doubt.

        You must perform these duties fairly and impartially. Do not let sympathy,
prejudice, fear, or public opinion influence you. In addition, do not let any person's race,
color, religion, national ancestry, or gender influence you.

      You must not take anything I said or did during the trial as indicating that     I
have an opinion about the evidence or about what I think your verdict should be.
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      The charge against the defendant is in a document called a superseding
indictment. You will have a copy of the superseding indictment during your
deliberations.

      The superseding indictment in this case charges the defendant with conspiracy
to commit an offense against the United States, namely to knowingly act in the United
States as an agent of the People's Republic of China without prior notification to the
Attorney General; acting in the United States as an agent of the People's Republic of
China without prior notification to the Attorney General; wire fraud; and willfully
making false and fictitious statements to the United States Department of the Army.
The defendant has pled not guilty to the charges.

       The superseding indictment is simply the formal way of telling the defendant
what crime he is accused of committing. It is not evidence that the defendant is guilty.
It does not even raise a suspicion of guilt.




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      The defendant is presumed innocent of the charge. This presumption continues
throughout the case, including during your deliberations. It is not overcome unless,
from all the evidence in the case, you are convinced beyond a reasonable doubt that the
defendant is guilty as charged.

      The government has the burden of proving the defendant's guilt beyond a
reasonable doubt. This burden of proof stays with the government throughout the case.

      The defendant is never required to prove his innocence. He is not required to
produce any evidence at aII.




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      You must make your decision based only on the evidence that you saw and heard
here in court. Do not consider anything you may have seen or heard outside of court,
including anything from the newspaper, television, radio, the Internet, or any other
source.

      The evidence includes only what the witnesses said when they were testifring
under oath, the exhibits that I allowed into evidence, and the stipulations that the
lawyers agreed to. A stipulation is an agreement that certain facts are true or that a
witness would have given certain testimony.

       Nothing else is evidence. The lawyers' statements and arguments are not
evid,ence. If what a Iawyer said is different from the evidence as you remember it, the
evidence is what counts, The lawyers' questions and objections likewise are not
evidence.

      A lawyer has a duty to object if he thinks a question is improper. If I sustained
objections to questions the lawyers asked, you must not speculate on what the answers
might have been.

          If, during the trial, I struck testimony or exhibits from the record, or told you to
disregard something, you must not considerit.
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       Give the evid.ence whatever weight you decide it deserves. IJse your common
sense in weighing the evidence and consider the evidence in light of your own everydaS,
experience.

       People sometimes look at one fact and conclude from it that another fact exists.
This is called an infere.nce. You are allowed to make reasonable inferences, so long as
they are based on the evidence.




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      You may have heard the terms "direct evidence" and "circumstantial evidence."
Direct evidence is evidence that directly proves a fact. Circumstantial evidence is
evidence that indirectly proves a fact.

      You are to consider both direct and circunrstantial evidence. The law does not
say that one is better than the other. It is up to you to decide how much weight to give
to any evidence, whether direct or circumstantial.
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        Do not make any decisions simply by counting the number of witnesses who
testified about a certain point.

      You may find the testimony of one witness or a few witnesses more persuasive
than the testimony of a larger number. You need not accept the testimony of the larger
number of witnesses.

     What is important is how truthful and accurate the witnesses were and how
much weight you think their testimony deserves.




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      A defendant has an absolute right not to testify. You may not consider in any way
the fact that the defendant did not testify. You should not even discuss it in your
deliberations.




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       Part of your job as jurors is to decide how believable each witness was, and how
much weight to give each witness's testimony. You may accept all of what a witness
says, or part ofit, or none ofit.

      Some factors you may consider include:

      -        the age of the witness;

      -        the intelligence of the witness;

      -        the witness's ability and opportunity to see, hear, or know the things
the witness testified about;

      -        the witness's memory;

      -        the witness's demeanor;

      -         whether the witness had any bias, prejudice, or other reason to lie or
slant the testimony;

      -        the truthfulness and accuracy of the witness's testimony in light of the
other evidence presented; and
      -        inconsistent or consistent statements or conduct by the witness.




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    It is proper for an attorney to interview any witness in preparation for trial.




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      You have heard testimony and received evidence that the defendant made
statements to the FBI. You must decide whether the defendant actually made the
statements and, if so, how much weight to give to the statements. In making
these decisions, you should consider a1l of the evidence, including the d.efendant's
personal characteristics and circumstances under which the statements may have been
made-




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      You have heard testimony of an identifi,cation of a person. Identification
testimony is an expression of the witness's belief or impression. In evaluating this
testimony, you should consider the opportunity the witness had to observe the person at
the time and to make a reliable identification later. You should also consider the
circumstances under which the witness later made the identification.

      The government must prove beyond a reasonable doubt that the defendant is the
person who committed the crime that is charged.




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       You have heard witnesses, namely, Joe McReynolds and James Olson who gave
opinions and testimony regarding the Chinese Ministry of State Security. You do not
have to accept the witnesses'opinions. You should judge these witnesses' opinions and
testimony the same way you judge the testimony of any other witness. In deciding how
much weight to give to these opinions and testimony, you should consider the witnesses'
qualifications, how each reached his conclusions, and the factors I have described for
determining the believability of testimony.




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      You have heard recorded conversations and seen video recordings. This is
evidence that you should consider together with and in the same way you consider the
other evidence.

       You were also given transcripts of the conversations to help you follow the
recordings as you listened to them. As to English-language recordings, the recordings
are the evidence of what wassaid and who said it. The transcripts are not evidence. If
you noticed any differences between what you heard in a conversation and what you
read in the transcripts, your understanding of the recording is what matters. In other
words, you must rely on what you heard, not what you read. And if you could not hear
or und.erstand certain parts of a recording, you must ignore the transcripts as far as
those parts are concerned. You may consider a person's actions, facial expressions, and
lip movements that you are able to observe on a video recording to help you determine
what was said and who said it.

       As to the Mandarin-Ianguage recordings, the rules are different. You were also
given English transcripts of those recordings. As to these Mandarin-Ianguage
recordings, however, it is the English translations, not the recordings themselves, that
are the evid.ence of what was said and who said it. These translations will be taken back
to the jury room, along with the other exhibits in evidence. In considering these
recordings, you must rely on the English translations and may not rely on any personal
knowledge you may have for the Mandarin language. Rather, your consideration of the
transcripts should be based on the evidence introduced in the trial'
      I  am providing you with the recordings and a device with instructions on its use.
It is up to you to decide whether to listen to the recordings during your deliberations.
You may, if you wish, rely on your recollections of what you heard during the trial.

        If, during your deliberations, you wish to have another opportunity to view any
transcripts as you listen to a recording, send a written message to the court security
officer, and I will provide you with the transcripts.




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       Certain summaries were admitted in evidence. You may use those summaries as
evidence. The underlying evidence has also been admitted so that you may determine
whether the summaries are accurate, It is up to you to decid,e how much weight to give
to the summaries.




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      Certain charts were shown to you to help explain other evidence that was
admitted, specifically Exhibits 2200 (map of China), 270A ftIank USCIS I-765 form),
27A3 (image of a circuit board), and 2704 (chart sf the strueture of the Chinese
government). These charts are not themselves evidence or proof of any facts, so you   will
not have these partieular charts during your deliberations.




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       If you have taken notes during the trial, you may use them during deliberations
to help you remember what happened d.uring the trial. You should use your notes only
as aids to your memory. The notes are not evidence. AI1 of you should rely on your
independent recollection of the evidence, and. you should not be unduly influenced by
the notes of other jurors. Notes are not entitled to any more weight than the memory or
impressions of each juror.




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       You have heard evidence obtained from the governmentls use of an undercover
agent. The government is permitted to use this investigative technique. You should
consider evidence obtained this way together with and in the same way you consider
the other evidence.




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       The superseding indictment charges that the crimes happened "on or about"
particular dates. The government must prove that the crimes happened reasonably
close to the dates, The government is not required to prove that the crimes happened
on the exact dates.




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      In rleciding your verdict, you should not consider the possible punishment for the
defendant. If you decide that the government has proved the defendant guilty beyond. a
reasonable doubt, then it will be my job to decide on the appropriate punishment.




                                           27
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       A person acts "knowingly" if he realizes what he is doing and is aware of the
nature ofhis conduct, and does not act through ignorance, rnistake, or accident. In
deciding whether the defendant acted. knowingly, you may consider all of the evidence,
including what the defendant did or said.




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      Count One of the superseding indictment charges the defendant with
conspiracy. In order for you to find the defendant guilty of this charge, the
government must prove each of the three following elements beyond a reasonable
doubt:

         1.          The conspiracy as charged in Count One existed;

         2.        The defendant knowingly became a member of the conspiracy
with an intent to advance the conspiracy; and

         3.        One of the conspirators committed an overt act      in an effort   to
advance the goal of the conspiracy.

     An overt act is any act done to carry out the goal of the conspiracy. The
government is not required to prove all of the overt acts charged in the
superseding indictment. The overt act may itself be a lawful act.

         If you find from your consideration of all the evidence that the government
has proved each of these elements beyond a reasonable doubt, then you should find
the defendant guilty.

      If, on the other hand, you find from your consideration of all the evidence that
the government has failed to prove any one of these elements beyond a reasonable
doubt, then you should find the defendant not guilty.




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      A "conspiracy" is an express or implied agreement between two or more persons
to commit a crime. A conspiracy may be proven even if its goal was not accomplished.

      In deciding whether the charged" conspiracy existed, you may consider all of'the
circumstances, includingthe words and acts of each of the allegedpartic-ipants.




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       To be a member of a conspiracy, the defendant does not need to join it at the
beginning, and he does not need to know all of the other members or all of the means
by which the illegal goal of the conspiracy was to be accomplished. The government
must prove beyond a reasonable doubt that the defendant was aware of the illegal goal
of the conspiracy and knowingly joined the conspiracy.

      A defendant is not a member of a conspiracy just because he knew and/or
associated with people who were involved in a conspiracy, knew there was a conspiracy,
and/or was present during conspiratorial discussions.

       The conspiracy must include at least one member other than the defendant who,
at the time, was not a United States government agent or a law enforcement officer.

      In deciding whether the defendant joined the charged conspiracy, you must base
your d.ecision only on what the defendant did or said. To determine what the defendant
did or said., you may consider the defendant's own words or acts. You may also use the
word.s or acts of other persons to help you decide what the defendant did or said.




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      Counts Three and Four of the superseding indictment charges the defendant
with wire fraud. In order for you to find the defendant guilty of this charge, the
government must prove each of the four following elements beyond a reasonable doubt:

      1.             That the defendant knowingly devised or participated in a scheme
to defraud, as described in Counts Three and Four; and
      2.             That the defendant did so with the intent to defraud; and

      3.           The scheme to defraud involved a materially false or fraudulent
pretense, representation, or promise; and

      4.          That for the purpose of carrying out the scheme or attempting to
do so, the defendant caused interstate wire communication to take place in the
manner charged in the particular count.

      If you find from your consideration of all the evidence that the government
has proved. each of these elements beyond a reasonable doubt as to the charge you
are considering, then you should find the defendant guilty of that charge.

      If, on the other hand, you find from your consideration of all the evidence that
the government has failed to prove any one of these elements beyond a reasonable
doubt as to the charge you are considering, then you should find the defendant not
guilty of that charge.




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      A scheme is a plan or course of action formed with the intent to accomplish some
purpose.

       A "scheme to defraud" is a scheme that is intended to deceive or cheat another
and to obtain money by means of materially false or fraudulent pretenses,
representations or promises. The Ioss of money must be more than an incidental part
of the scheme

      A scheme to defraud must do more than cause the United States Department of
the Army to enter into a transaction it otherwise would have avoided. The scheme must
depend for its completion on a misrepresentation of an essential element of the bargain.

      A materially false or fraudulent   pretense, representation,    or promise   may
be accomplished by    the concealment of material information.




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      In considering whether the government has proven a scheme to defraud, the
government must prove that one or more of the false or fraudulent pretenses,
representations or promise charged in the portion of the superseding indictment
describing the scheme be proved beyond a reasonable doubt. The government,
however, is not required to prove all of them.




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      A false or fraudulent pretense, representation, or promise, or concealment is
"mate.rial" if it is capable of influencing the decision of the person, or the United. States
Department of the Army, to whom it was addressed.

      It is not necessary that the false or fraudulent pretense, representation, promise,
omission, or concealment actually have that influence or be relied on by person or the
Army, as long as it is capable of doing so.




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      A person acts with "intent to defraud" if he acts knowingly with the intent to
deceive or cheat the victim in order to cause a gain of money to the defendant or another.




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      The wire fraud statute can be violated whether or not there is any gain to the
defendant.

      The government need not prove that the scheme to defraud actually succeeded.




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     Wire transfer of funds constitute transmission by means of                 wire
communication.




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       The government must prove that interstate communication facilities were used
to carry out the scheme, or were incidental to an essential part of the scheme.

      In order to cause interstate wire communications to take place, the defendant
need not actuatly intend that use to take place. You must find that the defendant
knew this use would actually occur, or that the defendant knew that it would occur
in the ordinary course of business, or that the defendant knew facts from which
that use could reasonably have been foreseen. However, the government does not
have to prove that the defendant knew that the wire communication was of an
interstate nature.

      The defendant need not actually or personally use the               interstate
communication facilitie   s.


      Although an item communicated interstate need not itself contain a fraudulent
representation or promise or a request for money, it must carry out or attemPt to
carry out the scherne.

      In connection with whether a wire transmission was made, you may consider
evidence of the habit or the routine practice of the organization.




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        Count Five of the superseding indictment charges the defendant with making a
false, fictitious or fraudulent statement or representation. In order for you to find the
defendant guilty of this charge, the government must prove each of the five following
elements beyond a reasonable doubt:

      1.            The defendant made a statement or representation; and

      2.            The statement was false; fictitious; or fraudulent; and

      3.            The statement or representation was material; and

      4.            The defendant acted knowingly and willfully; and

      5.             The defendant made the statement or representation in a matter
within the jurisdiction of the executive branch of the government of the United States.

      If you find from your consideration of aII the evidence that the government
has proved. each of these elements beyond a reasonable doubt, then you should find
the defendant guilty.

                                                                      evidence that
      If, on the other hand, you find from your consideration of all the
the government has failed to prove any of these elements beyond a reasonable doubt,
then you should find the defendant not guilty.




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   A statement or representation is false or fictitious if it was untrue when made.




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   A statement or representation is fraudulent if it is made with intent to deceive.




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      A statement is "material" if it is capable of influencing the actions of the United
States Department of the Army. The government is not required to prove that the
statement actually influenced the actions of the United States Departrnent of the Army.




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      A person acts "willfully" if he acts voluntarily and intentionally, and with the
intent to do something illegal.




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       The United States Department of the Army is a part of the executive branch of the
government of the United States. Statements or representations concerning SF-86 forms
are within the jurisdiction of that branch.




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       Once you are aII in the jury room, the first thing you should do is choose a
foreperson. The foreperson should see to it that your discussions are carried on in an
organized way and that everyone has a fair chance to be heard. You may discuss the
case only when all jurors are present.

      Once you start deliberating, do not communicate about the case or your
deliberations with anyone except other members of your jury. You may not
communicate with others about the case or your deliberations by any means. This
includes oral or written communication, as well as any electronic method of
communication, such as cell phone, smartphone, iPhone, blackberry, computer, text
messaging, instant messaging, the Internet, chat rooms, blogs, websites, or services like
Facebook, Linkedln, YouTube, Instagram, Snapchat, Twitter or any other method of
communication.

      If you need to communicate with me while you are deliberating, send a note
through the court security officer, The note should be signed by the foreperson, or by
one or more members of the jrry.To have a complete record of this trial, it is important
that you do not communicate with me except by a written note. I may have to talk to
the lawyers about your message, so it may take me some time to get back to you. You
may continue your deliberations while you wait for my answer. Please be advised that
transcripts of trial testimony are not available to you. You must rely on your collective
memory of the testimony.

      If you send me a message,   do not include the breakdown of any votes you may
have conducted. In other words, do not tell me that you are split 6-6, or 8-4, or whatever
your vote happens to be.




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       A verdict form has been prepared for you, You will take this.form with you to the
jury room.

      [Read the verdict form.]

      When you have reached unanimous agreement, your foreperson will       fill in, date,
and sign the verdict form. Each of you wiII sign it.

      Advise the court security officer once you have reached a verdict. When you come
back to the courtroom, I will read the verdict aloud.




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     The verdict must represent the considered judgment of each juror. Your verdict,
whether it is guilty or not guilty, must be unanimous.

       You should make every reasonable effort to reach a verdict. In doing so, you
should consult with each other, express your own views, and listen to your fellow jurors'
opinions. Discuss your differences with an open mind. Do nothesitate to re-examine
your own view and change your opinion if you come to believe it is wrong. But you
should not surrender your honest beliefs about the weight or effect of evidence just
because of the opinions of your fellow jurors or just so that there can be a unanimous
verdict.

       The twelve of you should give fair and equal consideration to all the evidence.
You should deliberate with the goal of reaching an agreement that is consistent with
the individual judgment of each juror.

      You are impartial judges of the facts. Your sole interest is to determine whether
the government has proved its case beyond a reasonable doubt.




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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                                No. 18 CR 611
            v.
                                                Judge Ronald A. Guzman
JI CHAOQUN

                                      VERDICT

      With respect to Count One of the superseding indictment, we, the jury, find   as

follows as to defendant Ji Chaoqun:

        NOT   GUILTY    n                    GUILTY             tr




FOREPERSON




      With respect to Count Two of the superseding indictment, we, the jury, find   as


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follows as to defendant Ji Chaoqun:

        I{OT GUILTY     tr                  GUILTY           tr




FOREPERSON




                                       45
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      With respect to Count Three of the superseding indictment, we, the jury, find

as follows as to defendant   Ji Chaoqun:

        }{OT GUILTY      tr                     GUILTY         tr




FOREPERSON




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      With respect to Count Four of the superseding indictment, we, the jury, find   as

follows as to defendant Ji Chaoqun:

        I{OT GUITTY     tr                   GUILTY            tr




FOREPERSON




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      With respect to Count Five of the superseding indictment, we, the jury, find   as

follows as to defendant Ji Chaoqun:

        NOT   GUILTY    tr                   GUILTY            tr




FOREPERSON




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